Case 3:18-cr-04683-GPC Document 482 Filed 06/10/22 PageID.7225 Page 1 of 15

                                                                    FILED
                                                                       JUN 1 0 2022
 1 RANDY S. GROSSMAN
   Acting United States Attorney                  CLERK, U.S. DISTRICT COURT
 2 MELANIE K. PIERSON                          SOUTHERN DISTRICT OF CALIFORNIA
   SABRINA L. FEVE                            BY         Ci1 J            DEPUTY
 3 Assistant U.S. Attorneys
   California Bar No. 1125201226590
 4 Office of the U.S. Attorney
   880 Front Street, Room 6293
 5 San Diego, CA 92101
   Tel: ( 619) 54 6-7 97 6
 6 Fax: (619) 546-0631
   Email:Melanie.Pierson@usdoj.gov1Sabrina.Feve@usdoj.gov
 7
   CANDINA S. HEATH
 8 Senior Counsel
   Texas Bar No. 09347450
 9 Computer Crime and Intellectual Property Section
   U.S. Department of Justice
10 Washington, D.C. 20005
   Tel: (202) 307-1049
11 Email: Candina.Heath2@usdoj.gov

12   Attorneys for United States of America

13
                                    UNITED STATES DISTRICT COURT
14
                                  SOUTHERN DISTRICT OF CALIFORNIA
15
     UNITED STATES OF AMERICA,                        Case No. 18-CR-4683-GPC
16
                       Plaintiff,
17           v.                                       PLEA AGREEMENT
18   MARK MANOOGIAN,
19
                       Defendant.
20
             IT   IS    HEREBY    AGREED    between    the   plaintiff,    UNITED     STATES   OF
21
     AMERICA, through its counsel, Randy S. Grossman, United States Attorney,
22
     and Assistant United States Attorneys Melanie K. Pierson and Sabrina L.
23
     Feve,    and      Computer     Crime   and   Intellectual   Property     Section    Senior
24
     Counsel Candy Heath, and Defendant MARK MANOOGIAN, with the advice and
25
     consent of Randy K. Jones, counsel for Defendant, as follows:
26
     II
27
     II
28


      Plea A.qreernent                                                  Def. Initials    1i1
                                                                                         /v(
                                                                              18-CR-4683-GPC
Case 3:18-cr-04683-GPC Document 482 Filed 06/10/22 PageID.7226 Page 2 of 15




 1                                           I

 2                                        THE PLEA

 3         Defendant agrees to plead guilty to Count 1 of the Superseding

 4   Information charging Defendant with:

 5         Conspiring with others to knowingly and falsely represent
           themselves to be the registrant and legitimate successor in
 6         interest to the registrant of 5 or more Internet Protocol
           addresses, and intentionally initiate the transmission of
 7         multiple commercial electronic mail messages from such
           addresses, in and affecting interstate commerce, on or about
 8         between December 2010 and September 2014, within the Southern
           District of California, in violation of 18 U.S.C. §1037 (a) (5)
 9         and (b) (3), a misdemeanor.
10         The Government agrees to (1) move to dismiss the remaining charges

11   in   the   underlying   Indictment   without    prejudice    when   Defendant   is

12   sentenced, and (2) not prosecute Defendant thereafter on such dismissed

13   charges unless Defendant breaches the plea agreement or the guilty plea

14   entered pursuant to this plea agreement is set aside for any reason.

15   The defendant agrees to waive the Statute of Limitations and any double

16   jeopardy rights and allow the filing of this Superseding Information.

17   If Defendant breaches this agreement or the guilty plea is set aside,

18   section XII below shall apply.

19         This plea agreement is part of a "package" disposition as set forth

20   in Section VI.E below

21                                           II

22                               NATURE OF THE OFFENSE

23         A.    ELEMENTS EXPLAINED

24         The offense to which Defendant is pleading guilty has the following

25   elements:

26               1. Beginning on or about December 2010 and ending on or about

27   September 2014 there was an agreement between two or more persons to

28
                                             2
                                                                 Def. Initials  //,j /Vl
                                                                       18-CR-4683-GPC
Case 3:18-cr-04683-GPC Document 482 Filed 06/10/22 PageID.7227 Page 3 of 15




 1   commit the offense of electronic mail fraud, in violation of Title 18,

 2   United States Code, Section 1037 (a) (5) and (b) (3);

 3                       2. The defendant became a member of the conspiracy knowing of

 4   its object and intending to help accomplish it;

 5                       3.           The defendant or a co-conspirator knowingly and falsely

 6   represented himself to be the registrant or the legitimate successor in

 7   interest to the registrant of 5 or more Internet Protocol addresses;

 8                       4. The defendant or a co-conspirator intentionally initiated

 9   the    transmission                      of    multiple   electronic           mail    messages    from        such

10   addresses; and

11                       5.            The    electronic    mail       messages      were   transmitted    in       and

12   affecting interstate commerce.

13          B.           ELEMENTS UNDERSTOOD AND ADMITTED - FACTUAL BASIS

14          Defendant has fully discussed the facts of this case with defense

15   counsel. Defendant has committed each element of the crime and admits

16   that there is a factual basis for this guilty plea. The following facts

17   are true and undisputed:

18                       1.                At all relevant times, Defendant worked for a San Diego-

19   based internet marketing company called Frontline Direct, then Adconion

20   Direct and then Amobee (hereinafter referred to collectively as Company

21   A) .   Defendant was hired by Company A to handle the acquisition and

22   announcement of Internet Protocol                                 (IP)    addresses.    The defendant knew

23   and intended these                         IPs were to be used to send multiple commercial

24   electronic mail messages to persons throughout the United States.

25                       2.                During   the   period   of         the   conspiracy,   the   defendant

26   agreed with other co-conspirators working at Company A to purchase 11

27   domain names associated with IP addresses                                      from Daniel Dye of GetAds

28

                 "J"·c(-;1r1<?:1·1   'l~
                                                                   3
                                                                                            Def. Initials      /1
                                                                                                             flt
                                                                                                  18-CR-4683-GPC
Case 3:18-cr-04683-GPC Document 482 Filed 06/10/22 PageID.7228 Page 4 of 15




 1   (the "GetAds IPs")                  and announce these IP addresses via Vincent Tarney

 2   of the Mata Group and others so that the GetAds IPs could be used by

 3   Company A to send multiple commercial email messages throughout the

 4   United States. The GetAds IPs included the IP addresses associated with

 5   the domain names ect.net (165.192.0.0/16), Telalink.net (207-234.0.0/17

 6   and             207.152.0.0/18),                   SierraSemi.com           (151.192.0.0/16),

 7   openbusinesssystems.com                        (168.129.0.0/16),          Moore-Solutions.com

 8   (167.87.0.0/16),                     TrinityMicro.com        (63.79.40.0/21),        Paxny.com

 9   (208.199.68.0/23),                      Sura.net         (163.253.0.0/16),           Cdnair.ca

10   (142.147.0.0/16),                   Mediavis.com     (149.118.0.0/16)      and    Internex.net

11   (various). The domain names associated with the GetAds IPs allowed the

12   defendant and his co-conspirators to control the IP addresses although,

13   as the defendant was aware, neither he, nor his co-conspirators nor Dye

14   nor   GetAds were              the    actual   registrants   or legitimate       successors   in

15   interest for these IP addresses.

16                    3.          To announce some of the GetAds IP netblocks, Dye provided

17   defendant          and        his    co-conspirators     with   Letters     of   Authorization

18   ("LOAs"),        which falsely attested that the true registrant of the IP

19   addresses had authorized use of the IP addresses. The LOAs provided by

20   Dye used the name and a fictitious letterhead of the IP address block's

21   true registrant.               Dye provided the defendant and his co-conspirators

22   with electronic versions of LOAs created using word processing software.

23   This format enabled the defendant and his co-conspirators to edit or

24   alter the LOAs.

25                    4.          The defendant and his co-conspirators (knowing that they

26   were not the true registrants,                     the legitimate successors in interest,

27   or otherwise authorized by the true registrant) provided these LOAs to

28

             .r c   C1 Jn(? n t
                                                          4
                                                                             Def. Initials    /h
                                                                                              flt
                                                                                   18-CR-4683-GPC
Case 3:18-cr-04683-GPC Document 482 Filed 06/10/22 PageID.7229 Page 5 of 15




 1   Tarney      and             other       hosting      companies,        representing    that    they     were

 2   authorized by the registrant, to enable Company A to use the GetAds IPs

 3   to send bulk unsolicited commercial email to individuals throughout the

 4   United States.

 5                      5.             After    the    GetAds    IPs    were   announced    and    under    their

 6   control, defendant and his coconspirators coordinated Company A's use

 7   of these IP addresses to transmit multiple commercial electronic mail

 8   messages.

 9                      6.             The parties agree that the amount of loss attributable

10   the offense is $313,700.

11                                                               III

12                                                          PENALTIES

13        The          crime            to     which    Defendant      is   pleading   guilty      carries    the

14   following penalties:

15        A.            a maximum 1 years in prison;

16        B.            a maximum $100,000 fine;

17        C.            a mandatory special assessment of $25 per count;

18        D.            a term of supervised release of one year. Failure to comply

19                     with            any     condition    of    supervised      release    may     result       in

20                      revocation              of     supervised      release,   requiring       Defendant       to

21                      serve in prison, upon revocation, all or part of the statutory

22                     maximum term of supervised release.

23                                                       IV
                                       DEFENDANT'S WAIVER OF TRIAL RIGHTS AND
24                                         UNDERSTANDING OF CONSEQUENCES
25        This guilty plea waives Defendant's right at trial to:

26        A.           Continue to plead not guilty and require the Government to

27                     prove the elements of the crime beyond a reasonable doubt;

28
                                                                  5
               .::- (':('rnt::1"J. t                                                   Def. Initials       M/11
                                                                                             18-CR-4683-GPC
Case 3:18-cr-04683-GPC Document 482 Filed 06/10/22 PageID.7230 Page 6 of 15




 1        B.     A speedy and public trial by jury;

 2        C.     The assistance of counsel at all stages;

 3        D.     Confront and cross-examine adverse witnesses;

 4        E.     Testify and present evidence and to have witnesses testify on

 5               behalf of Defendant; and,

 6        F.     Not   testify or have any adverse         inferences drawn from the

 7               failure to testify.

 8                                              V

 9               DEFENDANT ACKNOWLEDGES NO PRETRIAL RIGHT TO BE
         PROVIDED WITH IMPEACHMENT AND AFFIRMATIVE DEFENSE INFORMATION
10
          Any information establishing the          factual    innocence of Defendant
11
     known to the undersigned prosecutor in this case has been turned over
12
     to Defendant. The Government will continue to provide such information
13
     establishing the factual innocence of Defendant.
14
          If this case proceeded to trial, the Government would be required
15
     to provide impeachment information for its witnesses.                  In addition,     if
16
     Defendant    raised    an    affirmative   defense,   the    Government      would      be
17
     required to provide information in its possession that supports such a
18
     defense.    By    pleading    guilty   Defendant   will     not   be    provided    this
19
     information, if any, and Defendant waives any right to this information.
20
     Defendant will not attempt to withdraw the guilty plea or to file a
21
     collateral attack based on the existence of this information.
22                                     VI
23                       DEFENDANT'S REPRESENTATION THAT GUILTY
                             PLEA IS KNOWING AND VOLUNTARY
24
          Defendant represents that:
25
          A.     Defendant has had a full opportunity to discuss all the facts
26               and circumstances of this case with defense counsel and has
                 a clear understanding of the charges and the consequences of
27               this plea. By pleading guilty, Defendant may be giving up,
                 and rendered ineligible to receive, valuable government
28

                                                6
                                                                   Def. Initials    /q  Pl
                                                                         18-CR-4683-GPC
Case 3:18-cr-04683-GPC Document 482 Filed 06/10/22 PageID.7231 Page 7 of 15




               benefits and civic rights, such as the right to vote, the
 1             right to possess a firearm, the right to hold office, and the
               right to serve on a jury. The conviction in this case may
 2             subject   Defendant   to  various  collateral   consequences,
               including but not limited to revocation of probation, parole,
 3             or supervised release in another case;        debarment from
               government contracting; and suspension or revocation of a
 4             professional license, none of which can serve as grounds to
               withdraw Defendant's guilty plea.
 5
          B.   No one has made any promises or offered any rewards in return
 6             for this guilty plea, other than those contained in this
               agreement or otherwise disclosed to the Court.
 7
          C.   No one has threatened Defendant      or   Defendant's     family   to
 8             induce this guilty plea.
 9        D.   Defendant is pleading guilty because Defendant is guilty and
               for no other reason.
10
          E.   The disposition contemplated by this agreement is part of a
11             "package" disposition with codefendant(s) Jacob Bychak, Abdul
               Mohammed Qayyuum and Petr Pacas. If any defendant in the
12             package fails to perform or breaches any part of their
               agreement, no defendant can withdraw their guilty plea or
13             withdraw from their agreement, but the Government is relieved
               from and not bound by any terms in any agreements in the
14             package.
15
                                         VII
16
                     AGREEMENT LIMITED TO U.S. ATTORNEY'S OFFICE
17                         SOUTHERN DISTRICT OF CALIFORNIA
18        This plea agreement is limited to the United States Attorney's

19   Office for the Southern District of California and cannot bind any other

20   authorities in any type of matter, although the Government will bring

21   this plea agreement to the attention of other authorities if requested

22   by Defendant.

23                                      VIII

24                     APPLICABILITY OF SENTENCING GUIDELINES

25        The sentence imposed will be based on the factors set forth in 18

26   U.S.C. § 3553(a). In imposing the sentence, the sentencing judge must

27   consult the United States Sentencing Guidelines      (Guidelines)    and take

28
                                          7
                                                           Def. Initials     /hA
                                                                 18-CR-4683-GPC
Case 3:18-cr-04683-GPC Document 482 Filed 06/10/22 PageID.7232 Page 8 of 15




 1   them into account. Defendant has discussed the Guidelines with defense

 2   counsel    and understands    that   the    Guidelines     are   only advisory,     not

 3   mandatory. The Court may impose a sentence more severe or less severe

 4   than otherwise applicable under the Guidelines,                up to the maximum in

 5   the statute of conviction.      The sentence cannot be determined until a

 6   presentence report is prepared by the U.S. Probation Office and defense

 7   counsel and the Government have an opportunity to review and challenge

 8   the   presentence   report.   Nothing      in   this    plea   agreement   limits   the

 9   Government's duty to provide complete and accurate facts to the district

10   court and the U.S. Probation Office.

11                                              IX
12                   SENTENCE IS WITijIN SOLE DISCRETION OF JUDGE

13         This plea agreement is made pursuant to Federal Rule of Criminal

14   Procedure 11 (c) (1) (B).   The sentence is within the sole discretion of

15   the sentencing judge who may impose the maximum sentence provided by

16   statute.    It is uncertain at this time what Defendant's sentence will

17   be. The Government has not made and will not make any representation

18   about what sentence Defendant will receive. Any estimate of the probable

19   sentence by defense counsel is not a promise and is not binding on the

20   Court. Any recommendation by the Government at sentencing also is not

21   binding on the Court.       If the sentencing judge does not follow any of

22   the parties'    sentencing recommendations,            Defendant will not withdraw

23   the plea.

24   II
25   II
26   II
27   II
28
                                                8
                                                                      Def. Initials /1114
                                                                            18-CR-4683-GPC
Case 3:18-cr-04683-GPC Document 482 Filed 06/10/22 PageID.7233 Page 9 of 15




 1                                                 X

 2                            PARTIES' SENTENCING RECOMMENDATIONS

 3         A.     SENTENCING GUIDELINE CALCULATIONS

 4         Although the Guidelines are only advisory and just one factor the

 5   Court will consider under 18 U.S.C. § 3553(a)                    in imposing a sentence,

 6   the parties will jointly recommend the following Base Offense Level,

 7   Specific Offense Characteristics, Adjustments, and Departures:
               1.   Base Offense Level [§ 2Bl.1]                  6
 8             2.   Amount of Loss [§ 2B1 .1 (b) (1) (G)]         +12
               3.   Acceptance of Responsibility [§ 3El.1)       -3
 9             4.   Combination of Factors [§ 5K2.0]             -7

10   The   parties     agree    that   a   downward departure         of   seven    levels    for       a
11   combination of circumstances is appropriate, because the offense is a
     misdemeanor       (while    the   guideline       section   is    typically         applied       to
12
     felonies), and the agreement allows the government to avoid a prolonged
13
     trial during a surge in the ongoing pandemic.
14
           B.     ACCEPTANCE OF RESPONSIBILITY
15
           Despite paragraph A above,           the Government need not recommend an
16
     adjustment      for Acceptance of Responsibility if Defendant engages                             in
17
     conduct inconsistent with acceptance of responsibility including, but
18
     not limited to, the following:
19
                  1.     Fails to truthfully admit a             complete factual basis as
20
                         stated in the plea at the time the plea is entered, or
21
                         falsely denies, or makes a statement inconsistent with,
22
                         the factual basis set forth in this agreement;
23
                  2.     Falsely denies prior criminal conduct or convictions;
24
                  3.     Is     untruthful    with      the   Government,          the    Court        or
25
                         probation officer; or
26
                  4.     Breaches this plea agreement in any way.
27

28
                                                   9
                                                                           Def. Initials      fl'ttn
                                                                                 18-CR-4683-GPC
Case 3:18-cr-04683-GPC Document 482 Filed 06/10/22 PageID.7234 Page 10 of 15




             C.         FURTHER ADJUSTMENTS AND SENTENCE REDUCTIONS INCLUDING THOSE
 1                      UNDER 18 U.S.C. § 3553
 2           Defendant           may     request      or      recommend         additional       downward

 3   adjustments,            departures,       or variances       from the Sentencing Guidelines

 4   under        18    U.S.C.     §   3553.    The   Government         will   oppose    any    downward

 5   adjustments,            departures,       or   variances      not   set    forth    in   Section    X,

 6   paragraph A above.

 7           D.         NO AGREEMENT AS TO CRIMINAL HISTORY CATEGORY

 8           The parties have no agreement as to Defendant's Criminal History

 9   Category.

10           E.         "FACTUAL BASIS" AND "RELEVANT CONDUCT" INFORMATION

11           The facts in the "factual basis" paragraph of this agreement are

12   true and may be considered as "relevant conduct" under USSG § lBl.3 and

13   as     the        nature    and   circumstances         of   the    offense    under       18   U.S.C.

14   §    3553 (a) (1).

15           F.         PARTIES' RECOMMENDATIONS REGARDING CUSTODY

16           The Government will recommend that Defendant be sentenced to the

17   low end of the advisory guideline range recommended by the Government

18   at sentencing.

19           G.         SPECIAL ASSESSMENT/FINE/RESTITUTION/FORFEITURE

20                      1.      Special Assessment

21           The parties will jointly recommend that Defendant pay a special

22   assessment in the amount of $25.00 per misdemeanor count of conviction

23   to be paid forthwith at time of sentencing. Special assessments shall

24   be paid through the office of the Clerk of the District Court by bank

25   or cashier's check or money order made payable to the "Clerk,                                   United

26   States District Court."

27   //

28
                                                        10
                                                                                 Def. Initials /vi/lll
                                                                                       18-CR-4683-GPC
Case 3:18-cr-04683-GPC Document 482 Filed 06/10/22 PageID.7235 Page 11 of 15




 1               2.      Fine

 2        The parties will jointly recommend that Defendant pay a fine in

 3   the amount of $100,000, which the Court shall order payable forthwith.

 4               3.     Community Service

 5        The parties agree that the defendant will perform 100 hours of

 6   community service during any period of probation or supervised release.

 7        H.     SUPERVISED RELEASE/PROBATION

 8        If the Court imposes a term of supervised release or probation,

 9   Defendant    will    not    seek    to   reduce      or    terminate    early   the   term   of

10   supervised release or probation until Defendant has served at least 2/3

11   of the term and has fully paid and satisfied any special assessments,

12   fine, and community service.

13                                                   XI

14                    DEFENDANT WAIVES APPEAL AND COLLATERAL ATTACK

15        Defendant       waives        (gives   up)      all    rights     to   appeal    and    to

16   collaterally attack every aspect of the conviction and sentence. This

17   waiver includes, but is not limited to, any argument that the statute

18   of conviction or Defendant's prosecution is unconstitutional and any

19   argument    that    the    facts    of   this     case     do   not   constitute   the   crime

20   charged.    The only exceptions are 1) Defendant may appeal a custodial

21   sentence above the high end of the guideline range recommended by the

22   Government at sentencing (if USSG § 5Gl.l(b)                     applies,   the high end of

23   the range will be the statutorily required mandatory minimum sentence),

24   and 2) Defendant may collaterally attack the conviction or sentence on

25   the basis that Defendant received ineffective assistance of counsel. If

26   Defendant appeals, the Government may support on appeal the sentence or

27   restitution order actually imposed.

28
                                                     11
                                                                            Def. Initials /¼/JI/
                                                                                  18-CR-4683-GPC
Case 3:18-cr-04683-GPC Document 482 Filed 06/10/22 PageID.7236 Page 12 of 15




 1                                                                     XII

 2                                                    BREACH OF THE PLEA AGREEMENT

 3               Defendant and Defendant's attorney know the terms of this agreement

 4   and shall raise, before the sentencing hearing is complete,                                         any claim

 5   that the Government has not complied with this agreement.                                          Otherwise,

 6   such claims shall be deemed waived                                      (that is,   deliberately not raised

 7   despite awareness that the claim could be raised), cannot later be made

 8   to any court,                              and if later made to a court,        shall constitute a breach

 9   of this agreement.

10               Defendant breaches this agreement if Defendant violates or fails

11   to perform any obligation under this agreement. The following are non-

12   exhaustive examples of acts constituting a breach:

13                             1.               Failing to plead guilty pursuant to this agreement;

14                             2.               Failing to fully accept responsibility as established in

15                                              Section X, paragraph B, above;

16                             3.               Failing to appear in court;

17                              4.              Attempting to withdraw the plea;

18                             5.               Failing to abide by any court order related to this case;

19                              6.              Appealing (which occurs if a notice of appeal is filed)

20                                              or collaterally attacking the conviction or sentence in

21                                              violation of Section XI of this plea agreement; or

22                             7.               Engaging in additional criminal conduct from the time of

23                                              arrest until the time of sentencing.

24               If Defendant breaches this plea agreement,                                Defendant will not be

25   able to enforce any provisions, and the Government will be relieved of

26   all         its          obligations               under   this    plea     agreement.   For    example,   the

27   Government may proceed to sentencing but recommend a different sentence

28
                                                                       12
     p·]   C'd   l\qr·c:::<:.-:Jll(::   J"Jt.                                               Def.   Initials fol /Z:t
                                                                                                    18-CR-4683-GPC
Case 3:18-cr-04683-GPC Document 482 Filed 06/10/22 PageID.7237 Page 13 of 15




 1   than what it agreed to recommend above. Or the Government may pursue

 2   any     charges   including       those     that        were        dismissed,    promised      to   be

 3   dismissed, or not filed as a result of this agreement (Defendant agrees

 4   that any statute of limitations relating to such charges                                  is   tolled

 5   indefinitely as of the date all parties have signed this agreement;

 6   Defendant also waives any double jeopardy defense to such charges). In

 7   addition, the Government may move to set aside Defendant's guilty plea.

 8   Defendant may not withdraw the guilty plea based on the Government's

 9 pursuit of remedies for Defendant's breach.

10           Additionally,        if Defendant breaches this plea agreement:                        (i) any

11   statements made by Defendant,              under oath,              at the guilty plea hearing

12   (before either a Magistrate Judge or a District Judge); (ii) the factual

13   basis    statement      in    Section     II. B    in    this        agreement;    and    (iii)      any

14   evidence derived from such statements, are admissible against Defendant

15   in any prosecution of, or any action against, Defendant. This includes

16   the prosecution         of the    charge (s)       that        is    the   subject of     this plea

17   agreement or any charge (s)             that the prosecution agreed to dismiss or

18   not file as part of this agreement,                      but later pursues because of a

19   breach      by    the        Defendant.      Additionally,                 Defendant      knowingly,

20   voluntarily, and intelligently waives any argument that the statements

21   and any evidence derived            from the           statements          should be     suppressed,

22   cannot be used by the Government, or are inadmissible under the United

23   States Constitution,           any statute,        Rule        410 of the Federal Rules of

24   Evidence,    Rule ll(f)        of the Federal Rules of Criminal Procedure,                           and

25   any other federal rule.

26   II
27   //

28
                                                       13
                                                                                  Def. Initials     /'1
                                                                                                  /11
                                                                                        18-CR-4683-GPC
Case 3:18-cr-04683-GPC Document 482 Filed 06/10/22 PageID.7238 Page 14 of 15




 1                                          XIII

 2                       CONTENTS AND MODIFICATION OF AGREEMENT

 3        This    plea   agreement embodies        the   entire   agreement    between the

 4   parties     and   supersedes   any   other    agreement,      written    or   oral.   No

 5 modification of this plea agreement shall be effective unless in writing

 6   signed by all parties.

 7                                           XIV

 8                 DEFENDANT AND COUNSEL FULLY UNDERSTAND AGREEMENT

 9        By signing this agreement, Defendant certifies that Defendant has

10   read it   (or that it has been read to Defendant in Defendant's native

11   language).    Defendant has discussed the terms              of this agreement with

12   defense counsel and fully understands its meaning and effect.

13   II
14   II
15   II
16   II
17   II
18   II
19   II
20   II
21   II
22   II
23   II
24   II
25   II
26   II
27   II
28
                                              14
                                                                    Def. Initials /11ftt
                                                                          18-CR-4683-GPC
Case 3:18-cr-04683-GPC Document 482 Filed 06/10/22 PageID.7239 Page 15 of 15




 1                                                                  xv
 2                                                   DEFENDANT SATISFIED WITH COUNSEL

 3                Defendant                    has    consulted   with    counsel     and    is       satisfied    with

 4   counsel's representation. This is Defendant's independent opinion, and

 5   Defendant's counsel did not advise Defendant about what to say in this

 6   regard.

 7
     DATED: June 6, 2022                                    Respectfully submitted,
 8
                                                            RANDY S. GROSSMAN
 9                                                          United States Attorney

10

11                                                          Melanie K. Pierson
                                                            Assistant United States Attorney
12
                                                            ls/Sabrina L. Feve
13                                                          Assistant United States Attorney

14                                                          /s/Candy Heath

15
                                                            ~~~iM7r
                                                            Senior Counsel
                                                                         ~~ime   a~(tellectual
                                                                                                            Property

16

17
                                                              /JI.µ~/{/! ________
                                                                                  ~
     DATED /                    1                           RA~DY K. JONES            _)          ·
18                                                          Defense Counsel

19   IN ADDITION TO THE FOREGOING PROVISIONS TO WHICH I AGREE, I SWEAR UNDER
     PENALTY OF PERJURY THAT THE FACTS IN THE "FACTUAL BASIS" SECTION ABOVE
20   ARE TRUE.
21

22   DATED                                                                l      i,
                                                             MARK MANOOGIAN
23                                                           Defendant

24

25

26

27

28
                                                                    15
     F i c ;.;_     ,_r_·c:ern(;_:_:,~·-1 t.                                                Def. Initials    I½   /11
                                                                                                  18-CR-4683-GPC
